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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.: 19-81358-CV-MIDDLEBROOKS/Brannon
SYMBOLOGY INNOVATIONS LLC,
Plaintiff,
v.
NIGHT OWL SP, LLC,

Defendant.
/

ORDER CLOSING CASE

THIS CAUSE comes before the Court on Plaintiffs Notice of Voluntary Dismissal with Prejudice,
filed on November 15, 2019. (DE 14). Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, a
plaintiff may voluntarily dismiss an action by filing a notice of dismissal before the opposing party serves

either an answer or a motion for summary judgment. See Fed. R. Civ. P. 41(a)(1)(A)(@). Defendant has

served neither.
Accordingly, it is ORDERED AND ADJUDGED that:
1. This case is DISMISSED WITH PREJUDICE.
2. The Clerk of Court shall CLOSE THIS CASE.

3. The Clerk shall also DENY all pending motions AS MOOT.

SIGNED in Chambers at West Palm Beach, Florida, this fe day of November, 2019.

DONALD M. MIDDLEBROOKS
UNITED STATES DISTRICT JUDGE
